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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        SOUTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA                          *
                                                  *
V.                                                * CR. NO. 02-00190-CG
                                                  *
BILLY RAY PERRY,                                  *
                                                  *
       Defendant.                                 *

                                              ORDER

       The matter came on for a supervised release revocation hearing on August 20, 2007, at

which the defendant executed a waiver of the hearing. Based on the arguments of counsel and

the representations made by the defendant, the court declines to revoke the defendant's

supervised release at this time and amends defendants terms of supervision as follows:

       1) The defendant shall participate in the ninety (90) day substance abuse treatment

program at The Shoulder.

       The defendant is warned that failure to complete the program at The Shoulder, or just one

additional positive drug test will result in revocation of his terms of supervision.

       The revocation was continued indefinitely and will be re-set if needed upon notice by the

Probation Officer that the defendant has failed to abide by the terms and conditions of supervised

release.

       It is ORDERED that the defendant be release from custody after being processed.

       DONE and ORDERED this the 20th day of August, 2007.


                                               /s/ Callie V. S. Granade
                                               CHIEF UNITED STATES DISTRICT JUDGE
